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                   UNITED STATES DISTRICT COURT FOR
                   THE WESTERN DISTRICT OF NEW YORK
                        CASE NO: 1:20-mc-00040-LJV

ANTONIO CABALLERO,

      Plaintiff,

vs.

FUERZAS ARMADAS REVOLUCIONARIAS
DE COLOMBIA, a/k/a FARC-EP a/k/a
REVOLUTIONARY ARMED FORCES OF
COLOMBIA; and THE NORTE DE VALLE
CARTEL,

      Defendants.
________________________________________/

 PLAINTIFF ANTONIO CABALLERO’S MEMORANDUM OF LAW IN OPPOSITION
TO PETROLEOS DE VENEZUELA S.A.’S AND SUBSIDIARIES’ MOTION TO QUASH
    WRITS OF EXECUTION AND VACATE TURNOVER JUDGMENT [D.E. 85]
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        Plaintiff Antonio Caballero (“Caballero”), by and through undersigned counsel, hereby

opposes Petroleos de Venezuela, S.A.’s (“PDVSA”) and its Subsidiaries’ (as defined at D.E. 85 at

1)1 Motion to Quash Writs of Execution and Vacate Turnover Judgment (the “Motion”) [D.E. 85].


                                 PRELIMINARY STATEMENT

        This Court’s January 29, 2021, Turnover Judgment is final. Despite appearing in this case

on February 2, 2021, the day before M&T Bank was due to comply with this Court’s Turnover

Judgment [D.E. 35], PDVSA never appealed the Turnover Judgment or timely moved for

rehearing or to alter or amend the judgment pursuant to Rule 59, Federal Rules of Civil Procedure.

Instead, PDVSA has taken on Rule 60(b)’s heightened burdens applicable to relieving a party from

the terms of a final judgment.2 As explained herein, PDVSA has not met its burden. It is time for

this Court’s final Turnover Judgment to be enforced.

        In its December 18, 2020, Decision & Order, this Court found that “Caballero has presented

credible evidence that PDVSA is an agency or instrumentality of the FARC. Other courts have

found the same. See Docket Item 11.” [D.E. 15 at 5].3 Based on its review of the evidence, this

Court ruled that “ . . . Caballero has established both that FARC is a terrorist party and that PDVSA

is an agency or instrumentality of FARC.” [D.E. 15 at 5]. The Court did the same in its January



1
   Collectively, PDVSA and its Subsidiaries will be referred to as the “PDVSA Parties.”
2
  A turnover judgment is a final, appealable judgment in collection proceedings. See, e.g. Stansell
v. Revolutionary Armed Forces of Columbia [sic], 771 F.3d 713, 737 (11th Cir. 2014). PDVSA
did not file its Rule 60 motion within twenty-eight days after the Turnover Judgment was entered.
As such, its filing did not toll its obligation to file its notice of appeal within thirty days. See Fed.
R. App. P. 4(a)(4)(A)(vi).
3
  At this point, seven different courts on thirteen occasions have declared PDVSA and/or a PDVSA
subsidiary to be an agency or instrumentality of the FARC. See Ex. 1, Decl. of Leon N. Patricios
at ¶ 7. The PDVSA Parties will surely complain that these findings were ex parte, but the PDVSA
Parties cannot accuse any of the Courts of abdicating their responsibility to review the submissions
before them.
                                                   1
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29, 2021, Decision & Order regarding the Subsidiaries. [D.E. 33 at n.7]. Thus, there has been one

potential factual issue before this Court since PDVSA’s appearance on February 2, 2021 – the

status of the PDVSA Parties as agencies or instrumentalities of the FARC.

       During the hearing on the Ad Hoc Board’s Motion to Substitute counsel, the Court

repeatedly warned the PDVSA Parties that any dispute between the Guaidó appointed and Maduro

appointed lawyers that resulted in necessary evidence not being submitted to the Court was

conduct akin to “cutting off one’s nose to spite one’s face” that could only benefit Caballero. See

Hearing Transcript 4/28/21 at pp. 16, 23, 34. Despite the Court’s specific warnings and numerous

orders4 that the PDVSA Parties brief both legal and factual issues, the PDVSA Parties have

submitted no evidence – none. The PDVSA Parties have not submitted an affidavit providing any

facts refuting the evidence before the Court or even bothered, although it would not be sufficient

to create an issue of fact, to submit an affidavit simply denying participation in the activities that

establish their agency or instrumentality status. Thus, this Court’s finding that the PDVSA Parties

are agencies or instrumentalities of the FARC is well-supported and in line with the finding of

every court to have considered the issue5 – and now stands unrebutted by the PDVSA Parties’

failure to submit any evidence.

       Instead of providing evidence, the PDVSA Parties make unsupported allegations. By way

of example, in the very first sentence of their Preliminary Statement, the PDVSA Parties

characterize, without any support, the FARC as “defunct.” That would be news to United States

Attorney General, the United States Attorney for the Southern District of New York, and several

other United States Attorneys who participated on March 26, 2020, in the announcement6 of a



4
  See D.E. 15 at 5; D.E. 78 at p. 18; D.E. 82.
5
  See Ex. 1, Decl. of Leon N. Patricios at ¶ 7.
6
  On March 26, 2020, the United States government announced at a press conference the unsealing
                                                  2
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superseding indictment against Maduro (the “Maduro Indictment”) that makes very clear that the

FARC’s narco-terrorist activities are very much ongoing and continue to be supported by FARC’s

partner Maduro and various Venezuelan government organs or organizations, including PDVSA.

See Ex. 2, Superseding Indictment, Case No. 11-cr-00205-AKH (S.D.N.Y.), D.E. 11. See also,

Otto Reich Declaration at D.E. 66-1 at ¶ 14 (adopting opinions of John Robert McBrien’s March

3, 2021 Declaration filed in the United States District Court for the Southern District of Texas,

attached hereto Ex. 5).

       Left without any facts to rebut the Court’s agency or instrumentality findings, the PDVSA

Parties vainly raise the proverbial “kitchen sink”7 of legal arguments (attacking every aspect of

Caballero’s case from inception through today) as its sole means of attempting to prevent a victim

of terrorism from recovering blocked assets that the United States Congress and Executive Branch

have expressly designated as available for that purpose. As explained below, each of the PDVSA

Parties’ attacks fail. Most fundamentally, no matter how many pages they write, or how many

cases they cite, the PDVSA Parties cannot overcome these powerful words: “[n]otwithstanding

any other provision of law, . . . .” TRIA, § 201(a) – words that the United States Supreme Court

has acknowledged create precedence over any other law, including the immunities provided in the



of the Maduro Indictment. See DOJ, Documents Related to the March 26, 2020 Press Conference,
Criminal Charges Against the Former Maduro Regime (Mar. 26, 2020), available at:
https://www.justice.gov/opa/documents-related-march-26-2020-press-conference. This was no
ordinary press conference. Remarks were provided by U.S. Attorney General William P. Barr,
U.S. Attorney Geoffrey S. Berman of the Southern District of New York, U.S. Attorney Ariana
Fajardo of the Southern District of Florida, and Assistant Attorney General Brian A. Benczkowski
of the Justice Department’s Criminal Division.
7
  In Bank Markazi v. Peterson, 136 S. Ct. 1310 (2016), the Supreme Court recounted the district
court’s observation that the party opposing turnover, like PDVSA here, had “filled the proverbial
kitchen sink with arguments.” Id. at 1321; n.14 (raising (i) lack of subject matter jurisdiction; (ii)
lack of personal jurisdiction; (iii) no ownership over the assets in question; (iv) and numerous other
objections to execution).

                                                  3
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Foreign Sovereign Immunities Act (“FSIA”) and apply to “every case in which a person has

obtained a judgment against a terrorist party . . . .” See TRIA Section 201(a) (emphasis added).

       In the face of multiple rulings against them, the PDVSA Parties ask this Court to be the

first in the nation to absolve them from their undisputed support of the FARC -- Maduro’s partner

in narco-terrorism -- and declare their blocked assets off limits to victims of terrorism. The

PDVSA Parties have simply not provided this Court with any legal or factual basis to take such an

extreme action.

         RESPONSE TO THE PDVSA PARTIES’ PRELIMINARY STATEMENT

       The PDVSA Parties raise five issues in their preliminary statement. We provide a brief

response in this preliminary statement and provide further argument below.

       Citing general and inapplicable law, the PDVSA Parties argue that “a judgment creditor

may not collect his judgment from a party that is not liable for that judgment.” D.E. 85-1 at 9.

The PDVSA Parties ignore TRIA, its legislative history, and the cases applying it because TRIA

expressly allows victims of terrorism to collect their judgments from the blocked assets of non-

defendants by explicitly authorizing collection from the blocked assets of a non-defendant – the

agency or instrumentality of a terrorist defendant.

       The PDVSA Parties further argue that this Court needs, but does not have, subject matter

jurisdiction over PDVSA pursuant to a FSIA immunity exemption or personal jurisdiction over

the PDVSA Parties. It is established law that TRIA overcomes any FSIA immunity and provides

an in rem remedy against a limited set of assets – blocked assets – not a “money judgment” against

the PDVSA Parties that could require an in personam judgment. Indeed, this Court entered a

Turnover Judgment against a res in this District – not a money judgment against PDVSA.

       The PDVSA Parties’ arguments are truly specious and are based on the mistaken premise



                                                 4
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that although Congress created a remedy for terrorism victims that allows them to attach terrorists’

blocked assets located in the United States, such victims cannot actually collect the blocked assets

unless the victims: (i) first locate and serve the terrorists who are hiding offshore; and (ii) then

establish such off-shore terrorists all have minimum contacts with the United States sufficient for

in personam jurisdiction. Nonsense. Congress expressly did the opposite – when under TRIA it

created a direct, in rem remedy against blocked assets. Moreover, PDVSA has moved to intervene

– waiving any personal jurisdiction arguments.8

       PDVSA argues that FSIA’s service provisions, applicable to commencing lawsuits against

sovereign nations, the Hague Service Convention, and the Inter-American Convention on Letters

Rogatory mandate compliance with the complex procedures of each. None are applicable to this

post-judgment in rem proceeding that attached blocked assets held within this District. Caballero

complied with applicable New York law service procedures as already found by this Court in its

Turnover Judgment. Moreover, in addition to Caballero’s appropriate service upon PDVSA,

PDVSA’s counsel has admitted that they received actual notice on behalf of PDVSA from M&T

Bank before this Court’s Turnover Judgment. To the extent PDVSA was entitled to notice of these

proceedings, PDVSA received it and so did the Subsidiaries.

       Reaching towards the bottom of their proverbial sink, the PDVSA Parties argue that TRIA

does not apply for a variety of meritless reasons. The PDVSA Parties attack the Second Circuit’s

definition of “agency or instrumentality,” which this Court necessarily followed.         Next, the

PDVSA Parties argue that Caballero has not proven that they are agencies or instrumentalities of

the FARC. But, as noted above, they have provided no contrary evidence or even denied the



8
 The record reflects that the Subsidiaries have never moved to intervene, but they have appeared
through counsel employed by the Ad Hoc Board. D.E. 58, 59, 69, 70, and the Court has authorized
their counsel to appear. D.E. 78.
                                                  5
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misconduct. Instead, the PDVSA Parties vainly attack Caballero’s evidence that this Court has

already accepted when entering its agency or instrumentality determinations and its Turnover

Judgment. Their attacks on the evidence already accepted by this Court should be summarily

rejected.

       Lastly, the PDVSA Parties, strain to overreach in their attacks, without any standing to do

so, of Caballero’s ATA Final Judgment,9 which has been enforced in multiple proceedings around

the country. Notably, the PDVSA Parties have not appeared before Chief Judge Moore, who

issued the ATA Final Judgment to attack how he handled the case. Again, without any standing

to do so, the PDVSA Parties ask this Court to sit as an appellate court and reconsider Chief Judge

Moore’s long final ATA Final Judgment.

                         RELEVANT STATUTORY FRAMEWORK

       The PDVSA Parties provided their view of the relevant statutory framework. For the

Court’s benefit, Caballero does the same. Because PDVSA is a company owned by the nation of

Venezuela, PDVSA relies heavily on the FSIA. It is black letter law that the FSIA has no

applicability to the Subsidiaries because downstream subsidiaries of a state-owned company are

not protected by the FSIA. Dole Food Co. v. Patrickson, 538 U.S. 468, 477 (2003). Thus, any

analysis of FSIA is necessarily only applicable to PDVSA but not the Subsidiaries.

       A. The FSIA is Applicable to In Personam, Not In Rem Actions

       The starting point in a FSIA analysis, wholly ignored by PDVSA, is whether the lawsuit

seeks an in personam judgment against the foreign state or whether the lawsuit is in the nature of

an in rem action. 10 The Second Circuit recently addressed this distinction in United States v. Assa



9
  The ATA Action refers to Caballero v. FARC et al., Case No. 18-25337-KMM (S.D. Fla) and
the ATA Judgment refers to the Final Judgment entered in that case at D.E. 63.
10
   And whether this action is characterized as in rem or quasi in rem, there is no difference because
                                                 6
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Co., 934 F.3d 185 (2d Cir. 2019) (holding that the FSIA is not applicable to an in rem forfeiture

proceeding against the property of a foreign state); see also Rubin v. Islamic Republic of Iran, 138

S. Ct. 816, 820 (2018) (FSIA “grants foreign states and their agencies and instrumentalities

immunity from suit in the United States (called jurisdictional immunity) and grants their property

immunity from attachment and execution in satisfaction of judgments against them.”) (emphasis

added).

          In Assa, the Second Circuit began its analysis with 28 U.S.C. § 1330, which the FSIA added

to provide federal courts with jurisdiction over foreign states. Assa, 934 F.3d at 188-89. Section

1330(a) provides district courts with original subject matter jurisdiction over “any nonjury civil

action against a foreign state . . . as to any claim for relief in personam . . . .” 28 U.S.C. § 1330(a)

(emphasis added). The Second Circuit began its analysis with the phrase “foreign state” reasoning

that “[t]he gateway into the FSIA’s immunity regime is the phrase ‘foreign state.’” Assa, 934 F.3d

at 188. It noted that if “the defendant is a foreign state, the lawsuit must go through the FSIA

gateway. . . . However, if the defendant is not a foreign state, the gateway closes: § 1330(a) does

not authorize jurisdiction, and § 1604 does not confer immunity.” Id. at 189 (emphasis added and

citations omitted). With regard to a forfeiture proceeding brought against an asset, the Second

Circuit held that “[p]roperty belonging to a foreign state does not fit any of these categories. As

this is therefore not a suit against a foreign state, the FSIA gateway is closed. No jurisdiction flows



both provide sufficient jurisdiction to adjudicate any interests in the blocked assets without
satisfying the traditional minimum contacts analysis set forth in International Shoe v. State of
Washington, 326 U.S. 310 (1945) or Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S.
915 (2011). See Shaffer v. Heitner, 433 U.S. 186, 210 n.36 (1977) (noting that a minimum contacts
analysis is not applicable to post-judgment quasi in rem proceedings); Crescendo Mar. Co. v. Bank
of Communs. Co., Case No. 15-cv-4481, 2016 U.S. Dist. LEXIS 21824 (S.D.N.Y. Feb. 22, 2016)
(finding that in a post-judgment collections proceeding where assets are within the jurisdiction of
the court, personal jurisdiction is not required).

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from § 1330(a), and no immunity flows from § 1604.” Assa, 934 F.3d at 189.

       B. The FSIA’s Provisions Regarding a Foreign State’s Property Are Applicable to
          Enforcement of In Personam Actions, not In Rem Actions

       In Assa, the Second Circuit acknowledged that Section 1609 addresses the immunity of a

foreign state’s property from attachment, arrest, and execution – subject to the exceptions set forth

in the FSIA. The Second Circuit concluded that the immunities conferred by Section 1609 are

applicable to “suits meant to enforce in personam judgments against a foreign state” and are

therefore inapplicable to an in rem civil forfeiture proceeding. Id. Similarly, the Supreme Court

has noted that, subject to certain exceptions, FSIA grants the property of foreign states “immunity

from attachment and execution in satisfaction of judgments against them.” Rubin, 138 S. Ct. at

820 (emphasis added).

       The Second Circuit also found that the background relating to the passage of Section 1609

supported its conclusion that Section 1609’s immunities were inapplicable to an in rem civil

forfeiture action. The Court reasoned that “[w]hen the executive branch seeks the forfeiture of a

foreign state’s property, the judiciary is in no position to second-guess whether the lawsuit will

harm our nation’s foreign policy goals.” Assa, 934 F.3d at 190. The same is true of TRIA

enforcement actions, which are premised on the Executive Branch’s blocking of property – making

such property available for the satisfaction of judgments held by victims of terrorism. Clearly, the

Executive Branch necessarily considers our country’s foreign policy goals when blocking the

assets of a foreign state or its wholly owned entities and knowingly makes such blocked assets

subject to “forfeiture” to victims of terrorism given TRIA’s broad language.

       The language of Section 1610, titled “Exceptions to the immunity from attachment or

execution” also supports the Second Circuit’s conclusion that the FSIA’s asset immunity




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provisions are inapplicable to in rem proceedings.11 Sections 1610(a) and (b) provide various

scenarios upon which a foreign state’s assets may be the subject of a post-judgment writ of

attachment or execution. The provisions, however, are plainly only applicable to collection upon

an in personam judgment against the foreign state – leaving in rem proceedings wholly outside the

scope of the FSIA.12

       C. TRIA Unequivocally Overrides the FSIA – Including Exempting Blocked Assets
          from any Immunity Provided by the FSIA

       Although the FSIA is not applicable to this post-judgment proceeding, even if this Court

were arguendo to find it applicable, the plain language and legislative history of TRIA, as well as

the opinions of the United States Supreme Court, the Second Circuit, and many other courts, make

clear that TRIA’s application to “every case” and provision of a remedy “notwithstanding any

other law” eviscerates PDVSA’s reliance on the FSIA. Put another way, the FSIA is no obstacle

to TRIA.

       Section 201(a) of TRIA provides:

       Notwithstanding any other provision of law, and except as provided in subsection
       (b), in every case in which a person has obtained a judgment against a terrorist
       party on a claim based upon an act of terrorism, or for which a terrorist party is
       not immune under section 1605A or 1605(a)(7) . . . , the blocked assets of that
       terrorist party (including the blocked assets of any agency or instrumentality of
       that terrorist party) shall be subject to execution or attachment in aid of execution


11
   There is no dispute that TRIA is codified as a note to Section 1610 and provides additional
exceptions to FSIA immunity. D.E. 85-1 at 21. See also Rubin, 138 S. Ct. at 824 (referencing
TRIA as one of “two other provisions within §1610 . . . .”) (emphasis added). Just because TRIA
is located within the FSIA does not mean that it is only applicable to state actors. It is well
established that codification of a law as a note has no impact on its interpretation or enforcement.
Weinstein v. Islamic Republic of Iran, 609 F.3d 43, 49 (2d Cir. 2010).
12
   Section 1610(c)’s reference to Section 1608(e) makes this clear. Section 1610(c) provides that
the post-judgment remedies provided in subsections (a) and (b) can be used to collect a judgment
served as “required under section 1608(e) of this chapter.” Section 1608 and in particular Section
1608(e) relate to in personam judgments entered against the foreign state – not post judgment in
rem collection proceedings brought under TRIA. See, e.g., 28 U.S.C. § 1608(e) (referencing a
judgment “against a foreign state”).
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       in order to satisfy such judgment to the extent of any compensatory damages for
       which such terrorist party has been adjudged liable.

Section 201(a), TRIA (emphasis added).

       TRIA begins with the powerful statement that its provisions apply notwithstanding any

other provision of law. The United States Supreme Court (on two occasions), the Second Circuit,

and numerous district courts have consistently held that, given such language, the provisions of

TRIA take “precedence over any other provision of law.” Rubin, 138 S. Ct. at 826 (citing Bank

Markazi, 578 U.S. at n.2); Weinstein v. Islamic Republic of Iran, 609 F.3d 43, 49 (2d Cir. 2010)

(noting that TRIA’s “[n]otwithstanding any other provision of law” makes “plain that the force of

the section extends everywhere.”); Smith v. FRB, 280 F. Supp. 2d 314, 319 (S.D.N.Y. 2003) (“The

phrase ‘notwithstanding any other provision of law’ simply means that Section 201(a) controls if

there is another provision of law that conflicts with it.”); Hill v. Republic of Iraq, Case No. 99-cv-

03346, 2003 U.S. Dist. LEXIS 3725 at *10 (D.D.C. Mar. 11, 2003) (“As this Court has frequently

recognized, ‘the phrase ‘notwithstanding any other provision of law,’ or a variation thereof, means

exactly that: it is unambiguous and effectively supersedes all previous laws.”). In other contexts,

such phrase has been interpreted consistent with how courts have applied TRIA – the statute

overrides any law to the contrary. See, e.g., Cisneros v. Alpine Ridge Group, 508 U.S. 10, 18

(1993) (“the use of such a ‘notwithstanding’ clause clearly signals the drafter’s intention that the

provisions of the ‘notwithstanding’ section override conflicting provisions of any other section.

Likewise, the Courts of Appeals generally have interpreted similar ‘notwithstanding’ language . .

. to supersede all other laws, stating that ‘[a] clearer statement is difficult to imagine.’”)

(emphasis added).13



13
  See also Miccosukee Tribe of Indians of Florida v. United States Army Corps of Engr’s, 619 F.
3d 1289, 1297 (11th Cir. 2010); In re Betwell Oil & Gas Co., 204 B.R. 817, 818 n.3 (Bankr. S.D.
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       TRIA is codified as a note to Section 1610 – a statute that provides exceptions to the

immunity from attachment and execution afforded to the property of a foreign state by Section

1609. See Rubin, 138 S. Ct. at 824 (referencing TRIA as one of “two other provisions within

§1610” allowing for the attachment and execution of property of a foreign state) (emphasis added).

Thus, there can be no dispute that, to the extent the FSIA is applicable to PDVSA’s blocked assets

(and it is not), TRIA would override any immunity provided by the FSIA.

       Faced with plain language and abundant, on point precedent, the PDVSA Parties retreat to

misrepresenting dicta. See D.E. 85-1 at p. 21 (citing Ministry of Def. & Support for the Armed

Forces of the Islamic Republic of Iran v. Elahi, 556 U.S. 366, 386 (2009)). PDVSA attempts to

use dicta from Elahi to suggest that TRIA’s “notwithstanding any other provision of law” clause

has a very narrow purpose. As described below (and is often the case) relying upon dicta, instead

of a court’s actual complete analysis, leads to legal error.

         In Elahi, a victim of Iranian terrorism waived “all rights” to attach Iranian blocked assets

pursuant to the terms of the Trafficking and Violence Protection Act of 2000 (“VPA”), as amended

by Section 201(c)(4) of TRIA, when he received partial compensation under the VPA. Elahi, 556

U.S. at 369. In an attempt to avoid the application of VPA’s waiver provisions, the plaintiff made

a strained argument that TRIA Section 201(a)’s “[n]otwithstanding any other provision of law”

language permitted him to attach the blocked assets notwithstanding his waiver of “all rights” to

do so. Id. at 385. In support, the plaintiff cited to the legislative history of TRIA. Id. at 386. The




Fla. 1997); Bertelt v. United States (In re Bertelt), 206 B.R. 579, 583 (Bankr. M.D. Fla. 1996);
Partida v. United States DOJ (In Re Partida), 862 F. 3d 909, 912-913 (9th Cir. 2017); Connyers
v. Rossides, 558 F. 3d 137, 145 (2d Cir. 2009); Crowley Caribbean Transport, Inc. v. United States,
865 F. 2d 1281, 1283 (D.D.C. 1989).



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Supreme Court disagreed finding that the relinquishment of “all rights” included the

relinquishment of any right given by TRIA Section 201(a) to attach blocked assets, especially

because the waiver was contained in TRIA Section 201(c) – the same law that contained Section

201(a). Id. at 385. Responding to the plaintiff’s legislative history argument, in dicta, the Supreme

Court then commented that the legislative history “suggests” that the “notwithstanding” clause in

Section 201(a) of TRIA was not inserted to overcome the waiver of “all rights” in Section 201(c),

but “for totally different reasons.” Id. at 386 (emphasis added). The Supreme Court then

recounted one of those reasons — to “eliminate the effect of any Presidential waiver issued under

28 U.S.C. § 1610(f) prior to the date of TRIA’s enactment.” Id. (citing to H.R. Conf. Rep. No.

107-779 at 27).

          The PDVSA Parties attempt to mislead this Court into legal error by misrepresenting the

above dicta. The Supreme Court did not state that eliminating the Presidential waiver was the only

reason for TRIA’s passage and the text of the legislative history referred to by the Supreme Court

makes this clear. As noted on page 27 of H.R. Conf. Rep. 107-779 (cited by the Supreme Court),

TRIA was passed to both “deal comprehensively with the problem of enforcement of judgments

rendered on behalf of victims of terrorism in any court of competent jurisdiction by enabling them

to satisfy such judgments through the attachment of blocked assets of terrorist parties . . . and

eliminates the effect of any Presidential waiver . . . ” H.R. Conf. Rep. 107-779 at p. 27 (emphasis

added).


                       PROCEDURAL AND FACTUAL BACKGROUND

          Caballero Submitted Competent Evidence (Still Unrebutted) Regarding PDVSA’s
          and its Subsidiaries’ Status as an Agency or Instrumentality of the FARC

          On September 10, 2020, Caballero registered his ATA Final Judgment with this Court.



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[D.E. 1]. In accordance with the established procedures in TRIA collections actions, 14 on

September 24, 2020, Caballero filed a Motion for Leave to File Document Under Seal [D.E. 7],

which the Court granted on October 9, 2020 [D.E. 8], accepting, under seal, Caballero’s ex parte

Motion for Issuance of Court Ordered Post-Judgment Writ of Execution Pursuant to Section 201(a)

of the Terrorism Risk Insurance Act of 2002. (hereinafter “Motion for Issuance”) [D.E. 10].

       Caballero has submitted three sworn declarations on the status of PDVSA and its

Subsidiaries as agencies or instrumentalities of the FARC. The Court has found Caballero’s

evidence credible and sufficient to support is agency or instrumentality determination. “This Court

finds that Caballero has presented credible evidence that PDVSA is an agency or instrumentality

of the FARC. Other courts have found the same. See Docket Item 11.” [D.E. 15 at 5]. The

PDVSA Parties have submitted no evidence in rebuttal or even a denial. Given as much, there

is no need to revisit the evidence submitted by Caballero and accepted by this Court. Nevertheless,

Caballero provides a short summary below.

       Caballero’s declarations include two from John Robert McBrien [D.E. 10-2, 10-3], the

former Associate Director for Global Targeting at OFAC who spent 25 years developing “every

sanctions Executive Order issued in that period and in the implementation of the resulting

sanctions programs” and who was “responsible for targeting investigations, execution of

designations, policy development, and interagency collaboration involving OFAC’s designation




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   See Stansell, 771 F.3d at 729. “During the pendency of execution proceedings, a number of
events may occur which make satisfaction using a particular asset impossible. Other judgment
creditors may seek to execute against the asset. The government may take action that makes the
asset unreachable, including seizure or de-listing of the alleged agency or instrumentality (which
may or may not be the result of a finding that the SDNT designation was incorrectly reached), the
latter of which would enable the asset owner to move the asset (or proceeds from its sale) outside
the reach of any United States district court.” Id.


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programs.” See [D.E. 10-3 at pp. 2-3.]. Caballero has also submitted the sworn declaration of the

Honorable Otto Juan Reich, former United States Ambassador to Venezuela, former Assistant

Secretary of State for Western Hemisphere Affairs, and former Special Envoy for Western

Hemisphere Initiatives.

       McBrien’s July 14, 2020 Sworn Declaration

       Before entering it’s agency or instrumentality determination as to PDVSA or its Turnover

Judgment, the Court had before it Mr. McBrien’s July 14, 2020 Sworn Declaration. D.E. 10-3.

In addition to providing a summary of his extensive background, including being responsible for

“targeting investigations, execution of designations, policy development, and interagency

collaboration involving OFAC’s designation programs,” id. at ¶ 6, Mr. McBrien’s declaration

explained that “[t]hroughout his regime, Maduro has made Venezuela a safe haven for the FARC.”

Id. at ¶ 18. Quoting from a publication from the United States State Department, Mr. McBrien

informed that “’Maduro helped manage, and ultimately, led the Cartel of the Suns, a Venezuelan

drug-trafficking organization comprised of high-ranking Venezuelan officials, as he gained power

in Venezuela in a corrupt and violent narco-terrorism conspiracy with Revolutionary Armed

Forces of Colombia (FARC).’” Id. Mr. McBrien concluded that Maduro is an agency or

instrumentality of the FARC, id. – a conclusion shared and amplified by the United States

government’s indictment of Maduro attached hereto.

       McBrien’s September 8, 2020 Sworn Declaration

       Before entering it’s agency or instrumentality determination or its Turnover Judgment, the

Court had before it Mr. McBrien’s September 8, 2020 Sworn Declaration. D.E. 10-4.            Mr.

McBrien’s declaration clearly explains that, at all times material hereto, PDVSA has been an

agency or instrumentality of the FARC.



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       Going back to the years when Chavez ran Venezuela, Mr. McBrien explained that “Hugo

Chavez offered FARC at least two vehicles for receiving income from the sale of Venezuelan oil,

‘in both cases with the cooperation of the manager of PDVSA.’” Id. at ¶ 9. Quoting authoritative

sources, Mr. McBrien informed that “beginning in 2005, Chavez personally directed the exchange

of vast sums of oil revenue for cocaine with the Colombian Fuerzas Armadas Revolucionarias de

Colombia (FARC) guerrillas.” Id. at ¶ 10. He further explained that the primary money laundering

structure for the FARC, as well as the Maduro regime and other criminal groups, is PDVSA. Id.

at ¶ 11. When opining that PDVSA is an agency or instrumentality of the FARC, Mr. McBrien

provided additional examples of how PDVSA provided material assistance to FARC’s narco-

terrorism conspiracy, including PDVSA helping FARC purchase arms.

       In addition to establishing that PDVSA has long been an agency or instrumentality of the

FARC, Mr. McBrien brought the chronology forward to the present (and certainly through the

time Caballero filed his action in the Western District of New York in September 2020). Quoting

an OFAC publication, Mr. McBrien noted that “PdVSA has long been a vehicle for corruption . .

. On January 28, 2019, OFAC designated PdVSA as an SDN under Executive Order 13850.” Id.

at ¶ 3. In June 2020, noting that PDVSA was the Maduro regime’s “primary conduit for

corruption,” OFAC added numerous individuals as SDNs including Maduro’s oil minister. Id. at

¶ 14. Mr. McBrien noted that the Venezuelan officials blocked in June 2020 “coordinated with

and/or assisted, various FARC operatives.” Id. at ¶ 16. Using source OFAC publications Mr.

McBrien explained, the corrupt operations of PDVSA associated individuals. Id. at ¶¶ 16-17.

       Mr. Reich’s April 9, 2021 Sworn Declaration

       On March 26, 2021, the Ad Hoc Board filed its Motion to Substitute Counsel [D.E. 58]

and submitted a declaration that, in part, offered statements about Maduro’s control of PDVSA



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and his misuse and diversion of its assets. [D.E. 58-2, at p. 4]. Of course, this is a clear admission

that during all times material hereto, Maduro (who is FARC’s partner in narco-terrorism) has

controlled PDVSA. With his opposition [D.E. 66], Caballero provided the sworn declaration of

the Honorable Otto Reich who has served as the U.S. Assistant Secretay of State for Western

Hemisphere Affairs, and also as U.S. Ambassador to the Republic of Venezuela [D.E. 66-1]. In

its reply in support of its Motion to Substitute [D.E. 68], the Ad Hoc Board quibbled with Mr.

Reich’s conclusions, but failed to provide any evidence in rebuttal. And, the PDVSA Parties’

Motion neither mentions nor rebuts Mr. Reich’s conclusions.

       Mr. Reich is unquestionably one of the preeminent experts on Latin America, and the

PDVSA Parties have not disputed his expertise. His qualifications include, but are not limited to:

           •   Bachelor’s Degree in International Studies from the University of North Carolina;
           •   Master’s Degree in Latin American Studies from Georgetown University;
           •   Three executive appointments under President Reagan:
                   o Assistant Administrator of the U.S. Agency for International Development;
                   o Special Advisor to U.S. Secretary of State George P. Schulz, directing the
                      Office of Public Diplomacy for Latin America and the Caribbean;
                   o United States Ambassador to the Republic of Venezuela;
           •   Appointment by President George H.W. Bush as Alternate U.S. Representative to
               the United Nations Human Rights Commission;
           •   Two executive appointments under President George W. Bush:
                   o U.S. Assistant Secretary of State for Western Hemisphere Affairs;
                   o Special Envoy for Western Hemisphere Initiatives.

       Mr. Reich noted that he is familiar with the “current political climate and government in

Venezuela, including the status of the current Venezuelan government and its operation of

[PdVSA] a government owned and run oil company.” [D.E. 66-1 at p. 4]. Mr. Reich’s first

opinion, that PDVSA is currently controlled by Maduro and his regime is admitted to be true by

the Ad Hoc Board and its counsel. See Ad Hoc Board’s Memorandum [D.E. 58-1 at p. 9];




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Declaration of Claire DeLelle [D.E. 59-2 at p. 4].15

       Mr. Reich also relates that he has reviewed several of Mr. McBrien’s declarations and

agrees with Mr. McBrien’s conclusions and opinions. [D.E. 66-1 at pp. 4-5]. Like Mr. McBrien,

Mr. Reich opines that notwithstanding the “2016 Peace Accord”, the FARC has operated without

interruption before, during, and after the 2016 Peace Accord and “continues to engage in narco-

trafficking, narco-terrorism, and violence in Colombia.” Id. at p. 6. The record is unrebutted that

the FARC has been in continuous operation.

       Mr. Reich opines (just as the United States government alleges in the Maduro Indictment)

that the Cartel of the Suns is headed by Maduro and that it is a major distributor of FARC cocaine

into the United States and other nations. [D.E. 66-1 at p. 6]. Mr. Reich cites FARC’s own

announcement that FARC is “in full support of the commander, comrade Nicolas Maduro, so that

this government may continue, so that he may continue to lead this ship.” Id.          In terms of

timeframes, Mr. Reich does not restrict his opinions to some far-off date in the past. He is clear

that, in his opinion, Maduro is currently the head of a drug cartel that is a major distributor of

FARC cocaine into the United States, that Maduro is currently in control of PDVSA, and that

Maduro is using, and has been using, PDVSA to support FARC’s drug trade. In sum, Mr. Reich’s

opinion (completely in accord with the Maduro Indictment) is that, at all times material hereto,

Maduro and PDVSA have been agencies or instrumentalities of the FARC.

       This Court’s Decisions and Orders and PDVSA’s Receipt of Actual Notice

       Even though PDVSA asks this Court to quash the writ of execution and to vacate the




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  The Ad Hoc Board and its counsel concede that United States sanctions have been directed at
PDVSA due to Maduro’s control over it. “Indeed, the United States has used its economic
sanctions tools to prevent the misuse and diversion of the assets of PdVSA and its subsidiaries by
Maduro . . . .” [D.E. 59-2 at p. 4]. .
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Turnover Judgment, its Memorandum [D.E. 85-1] contains no discussion of how this Court erred

in entering its: (i) December 18, 2020 Decision and Order finding PDVSA to be an agency or

instrumentality of the FARC (the “PDVSA A&I Order”) [D.E. 15]; (ii) January 29, 2021 Turnover

Judgment [D.E. 35]; or (iii) January 29, 2021 Decision and Order finding the Subsidiaries and

other entities to be agencies or instrumentalities of the FARC (the “Subsidiaries A&I Order”) [D.E.

33]. Simply put, the Court committed no error.

               The PDVSA A&I Order

       On December 18, 2020, after considering Caballero’s Motion for Issuance (docketed on

October 9, 2020) [D.E. 10], the Court entered the PDVSA A&I Order [D.E. 15]. After reciting

the background of the case, the Court turned to the issue of defining the term “agency or

instrumentality” in TRIA. In roughly two pages of analysis, including a review of the Second

Circuit’s opinion in Kirschenbaum v. 650 Fifth Avenue and Related Properties, 830 F.3d 107 (2d

Cir. 2016), this Court concluded that FSIA’s definition of “agency or instrumentality” is not

applicable and applied the definition provided by the Second Circuit in Kirshenbaum. Id. at pp.

4-5.

       In this circuit, therefore, “agency or instrumentality” for purposes of the TRIA
       means any person or entity who “(1) was a means through which a material function
       of the terrorist party is accomplished, (2) provided material services to, on behalf
       of, or in support of the terrorist party, or (3) was owned, controlled, or directed by
       the terrorist party.”

Id. at p. 5 (quoting Kirschenbaum) (italics in original).

       In its analysis, the Court also reasoned that “[b]ecause of the ‘clandestine’ nature of

terrorist parties and their agents, and agency-or-instrumentality relationship can be found even if

the agency or instrumentality ‘had not previously been directly linked to’ the terrorist party and

even if the evidence linking the agency or instrumentality to the terrorist party is ‘indirect.’” Id.



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       Applying these standards, the Court found that “Caballero has established both that FARC

is a terrorist party and that PDVSA is an agency or instrumentality of FARC.” Id. The Court also

noted (n.3) that it “finds that Caballero has presented credible evidence that PDVSA is an agency

or instrumentality of FARC.” In making these findings, the Court did not reject Mr. McBrien’s

declarations as hearsay, but instead accepted Mr. McBrien’s declarations, quoting extensively (see

pages 6 and 7 of D.E. 15) from his declaration and supporting documentation, concluding:

“Through the McBrian [sic] declaration and supporting documentation, Caballero has sufficiently

demonstrated that PDVSA, through money laundering and weapons support, has ‘provided

material services to, on behalf of, or in support of [FARC].’” [D.E. 15 at. p. 12].

       Service of the PDVSA A&I Order and Writ of Execution

       The same day the PDVSA A&I Order was issued, Caballero moved for the appointment of

a special process server [D.E. 16], which the Court granted [D.E. 17]. On December 21, 2020, the

Clerk issued the Writ of Execution. The Writ of Execution required the U.S. Marshal to levy upon

the assets “in your district belonging to Petroleos de Venezuela, S.A. (or in the putative name of,

or for the benefit of Petroleos de Venezuela, S.A.) c/o M&T Bank Corporation . . . .”

       On December 23, 2020, the authorized process server served the Writ of Execution and a

Notice to Debtor upon PDVSA by mailing such documents to PDVSA at the two addresses in

Venezuela listed by OFAC in its SDN designation of PDVSA. See D.E. 23-4 at pp. 2-3;16 84 FR

3282 (Feb. 11, 2019). The process server also served the Defendants and M&T Bank. See D.E.

23-1, 23-2, and 23-3. The Writ of Execution was directed to, and served upon, M&T Bank



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   “[I]t is well established that notice ‘sent by ordinary mail is deemed reasonably calculated to
inform interested parties’ of an impending action.” Windward Bora LLC v. Baez, Case No. 19-cv-
1755, 2021 U.S. Dist. LEXIS 36829 at n.8 (E.D.N.Y., Feb. 24, 2021) (citing Weigner v. New York,
852 F.2d 646, 650 (2d Cir. 1988) and other cases).


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because, in response to a subpoena, M&T Bank had indicated that it was holding blocked funds

due to the “Sanctions Target” “PETROLEOS DE VENEZUELA, S.A.” See D.E. 23-6 at p. 3.

       Proceedings Related to the Subsidiaries

       On January 11, 2021, the Clerk filed under seal Caballero’s motion for determination of

agency or instrumentality status as to the Subsidiaries and other entities. [D.E. 22]. In support,

Caballero noted that other courts had already determined that PDVSA subsidiaries, including some

of the Subsidiaries at issue in the Motion, to be agencies or instrumentalities of the FARC and

attached the four court orders for the Court’s review. [D.E. 22 at p. 6]. Caballero also relied upon

Mr. McBrien’s previously filed declarations.

       On January 29, 2021, the Court granted the motion [D.E. 33]. Noting that “Caballero has

proffered credible evidence that PDVSA’s subsidiaries are instrumental to its money laundering

operation and that PDVSA’s money laundering operation is in turn instrumental to the FARC’s

drug trafficking,” the Court issued its Subsidiaries A&I Order. After serving the Garnishee,

Citibank, with the writ issued following the Court’s Subsidiaries A&I Order, Caballero advised

the Court of the service [D.E. 46], and the Court unsealed the related papers. [D.E. 47].

       PDVSA’s Counsel Received Actual Notice from M&T Bank

       M&T Bank answered the Writ of Execution served upon it, and also provided an amended

answer to the Writ of Execution. [D.E. 23-5]. M&T Bank titled the amended answer: “RE:

Petroleos de Venezuela, S.A. . . . Reference No.: N/A – Writ of Execution Answer.” Id. In its

answer to the Writ of Execution about PDVSA, M&T Bank acknowledged its receipt of the Writ

of Execution and noted that it was holding two frozen accounts. Id. M&T Bank’s form also

contained an empty and unchecked box that could have indicated it “was unable to comply”

because it had “No Open Accounts” [D.E. 23-5 at p.2]. M&T obviously would have checked such



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box if it was not holding any blocked assets in the putative name of, or for the benefit of, PDVSA.

After twenty days elapsed with no response from PDVSA or the Defendants, on January 13, 2021

Caballero filed his Motion and Memorandum in Support of Plaintiff’s Motion for Entry of

Turnover Judgment [D.E. 23] (“Motion for Turnover”).

       According to a February 2, 2021 email from Edward H. White, Vice-President of M&T

Bank, on January 12, 2021, Mr. White provided counsel for PDVSA with M&T Bank’s amended

answer to the writ of execution, and on January 13, 2021, he provided counsel for PDVSA with

Caballero’s Motion for Turnover. See Ex. 3 (email chain) and Ex. 1, Decl. of Leon N. Patricios

at ¶¶ 3-6. PDVSA’s lawyers did not contact counsel for Caballero or notify the Court of their

involvement. Instead, PDVSA waited until after the entry of the Turnover Judgment to file an

appearance.

       The Turnover Judgment

       Even though PDVSA’s lawyers had more than two weeks of actual notice of the pending

Turnover Motion, they did not timely file an appearance with the Court, and after entering an

appearance, PDVSA never appealed the Turnover Judgment.17 On January 29, 2021, the Court

entered its Turnover Judgment. The Turnover Judgment acknowledged that Caballero had

provided notice to PDVSA in two ways: (i) by serving PDVSA through the process server (D.E.

35 at n.2 (citing to the returns of service filed by Caballero)); and (ii) by levying on PDVSA’s

property. Id. The Court specifically explained that it “is satisfied that Caballero, through a

specially appointed process server, has complied with CPLR § 5232 and has provided adequate



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   The Ad Hoc Board may try to argue about these consequences by noting that the Ad Hoc Board
should not be saddled with the decisions of the Maduro appointed lawyers. Nonsense. There is
only one PDVSA. PDVSA, through counsel, made these decisions. Moreover, the Maduro
appointed counsel and the Ad Hoc Board appointed counsel are completely aligned when it comes
to opposing the relief sought by Caballero.
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notice of the writ of execution to PDVSA and the Defendants.” Id. at p. 3. The Court also held

that because “PDVSA has not appeared in this action or offered evidence to rebut Caballero’s

credible allegations that it is an agency or instrumentality of the FARC . . . [t]he Court’s prior

finding that PDVSA is an agency or instrumentality of the FARC . . . therefore stands.” Id. at n.2

and at p. 3. The Turnover Judgment gave M&T Bank five days from the date of the Turnover

Judgment to transfer the funds to counsel for Caballero – or February 3, 2021.

       PDVSA’s Untimely Appearance

       After the Court entered its Turnover Judgment, counsel for Caballero was in regular

communication with M&T Bank and specifically Mr. White. Ex. 1, Decl. of Leon N. Patricios at

¶ 4. During a series of emails on February 2, 2021 about the turnover due February 3, 2021, Mr.

White wrote that he “was notified earlier today by counsel for PDVSA that they intend to file

something with the court today.” Ex. 3 (email chain). Later in the day, Mr. White wrote that he

had previously provided counsel for PDVSA with the bank’s amended answer to the writ of

execution on January 12, 2021 and Caballero’s motion for turnover on January 13, 2021. Id.

       Later in the day on February 2, 2021, PDVSA did file an appearance through counsel and

moved to intervene and to stay [D.E. 37]. Very shortly thereafter, on the same day, the Court

granted the motion to intervene and stayed the Turnover Judgment. [D.E. 39].

                                    LEGAL STANDARDS

       A. PDVSA’s Burden under Rule 60(b)

       In its Memorandum, PDVSA cites to Rule 60(b)(4) and Rule 60(b)(6) of the Federal Rules

of Civil Procedure. “Relief under Rule 60(b) ‘is addressed to the sound discretion of the district

court.’” Gater Assets, Ltd. v. Gazsnabtranzit, Case No. 16-cv-04118, 2018 U.S. Dist. LEXIS

171350 at *14 (S.D.N.Y Sept. 30, 2018) (citing State St. Bank & Tr. Co. v. Inversiones Errazuriz



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Limitada, 374 F.3d 158, 166 (2d Cir. 2004)). “Courts generally require that the evidence in support

of the Rule 60(b) motion be ‘highly convincing, that a party show good cause for the failure to act

sooner, and that no undue hardship be imposed on other parties.’” Id. (citations omitted).

       With regard to subject matter jurisdiction arguments, the Second Circuit has drawn a

distinction between arguments made on direct appeal and arguments made through Rule 60(b)(4).

In Cent. Vt. PSC v. Herbert, 341 F.3d 186 (2d Cir. 2003), the Second Circuit held: “Because ‘final

judgments should not be lightly reopened, [Rule 60(b)] may not be used as a substitute for a timely

appeal . . . Since 60(b) allows extraordinary relief, it is invoked only upon a showing of exceptional

circumstances.’” Id. at 190 (citation omitted). The Second Circuit further explained that in “the

context of a Rule 60(b)(4) motion, a judgment may be declared void for want of jurisdiction only

when the court ‘plainly usurped jurisdiction,’ or, put somewhat differently, when ‘there is a total

want of jurisdiction and no arguable basis on which it could have rested a finding that it had

jurisdiction.’” Id.

       B. PDVSA Has the Burden of Proof Because it Had Actual Notice

       There is no dispute in the record that counsel for PDVSA received notice from M&T Bank

of these proceedings more than two weeks before the Court’s entry of its Turnover Judgment.

Because PDVSA clearly had actual notice of these proceedings before the entry of the Court’s

Turnover Judgment (and did nothing), PDVSA must somehow overcome that it has standing to

establish (and if so, meet the burden of proof) that: (i) this Court lacked subject matter jurisdiction

to issue the writ of execution and Turnover Judgment (PDVSA has not met its burden here); (ii)

this Court needed and did not have personal jurisdiction (PDVSA Parties have no standing, and

would not have met their burden here); and (iii) every other point raised by the PDVSA Parties

(PDVSA Parties have no standing, as these are collateral attacks, and would not have met their



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burden here either). See “R” Best Produce, Inc. v. DiSapio, 540 F.3d 115, 126 (2d Cir. 2008)

(“But in a collateral challenge to a default judgment under Rule 60(b)(4), the burden of establishing

lack of personal jurisdiction is properly placed on a defendant who had notice of the original

lawsuit.”); Burda Media, Inc. v. Viertel, 417 F.3d 292, 299 (2d Cir. 2005) (holding that defaulting

defendant who had actual notice of the proceeding bears the burden under Rule 60(b)(4) when

challenging service of process).

                                           ARGUMENT

       A. This Court had Subject Matter Jurisdiction to Issue the Writs of Execution and
          Turnover Judgment.

       The PDVSA Parties’ first argument, that Caballero improperly seeks to hold them liable

for a judgment against the FARC and in doing so needs an independent basis for subject matter

jurisdiction, [D.E. 85-1 at p. 22] is simply wrong. TRIA’s express language allows Caballero to

collect his judgment against FARC from the blocked assets of FARC’s agencies or

instrumentalities, and binding Second Circuit precedent holds both that: (i) TRIA provides this

Court with subject matter jurisdiction; and (ii) the PDVSA Parties did not have to be named in the

underlying judgment. Weinstein, 609 F.3d at 50 (“Accordingly, we find it clear beyond cavil that

Section 201(a) of the TRIA provides courts with subject matter jurisdiction over post-judgment

proceedings against property held in the hands of an instrumentality of the judgment-debtor, even

if the instrumentality is not itself named in the judgment.”).18

       The PDVSA Parties next argue that the FSIA is the sole basis for obtaining subject matter

jurisdiction over PDVSA [D.E. 85-1 at p 22]. PDVSA’s central argument is that TRIA is not a

“back door” to avoid the FSIA’s jurisdictional immunities and that “only in those cases, where the



18
  See also Bennett v. Islamic Republic of Iran, 927 F. Supp. 2d 833, 841-42 (N.D. Cal. 2013)
(holding that TRIA does not shift liability “from a terrorist party to its instrumentality.”)
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foreign state lacked immunity under § 1605A or § 1605(a)(7), does TRIA make the blocked

property of the designated foreign state’s agency or instrumentality available for execution.” [D.E.

85-1 at p. 24, 25-26]. PDVSA is partly correct. TRIA is no “back door” to FSIA immunity – it is

a “front door” because TRIA’s “notwithstanding any other law” provision eliminates any FSIA

immunity.

       Preliminarily, we note that FSIA is not even implicated in this in rem proceeding. The

principles set forth by the Second Circuit in Assa that the FSIA “gateway” is not implicated in

forfeiture proceedings is equally applicable here. In Assa, the Second Circuit reasoned that FSIA

is only applicable to lawsuits seeking in personam judgments against foreign nations. Assa, 934

F.3d at 190; see also supra Relevant Statutory Framework, A. Caballero is not seeking and has

not obtained an in personam judgment against PDVSA. He is seeking a turnover of a specific res

– a blocked asset within this District. This post-judgment proceeding is far more akin to an in rem

forfeiture proceeding than a civil action seeking an in personam judgment against a foreign state.

As noted, the remedy sought from, and already granted by, this Court was not an in personam

judgment for damages against PDVSA, but the turnover of a specific res located within the

geographic jurisdiction of this Court. Thus, according to the Second Circuit’s reasoning, PDVSA

cannot even invoke FSIA immunity because Caballero is not seeking an in personam judgment.

       Even if FSIA were applicable to PDVSA, and it is not, TRIA unequivocally overrides any

FSIA immunity. PDVSA fails to cite one opinion in which a court says anything different. Put

another way, it asks this Court to boldly declare that TRIA’s language is not so plain after all and

that the United States Supreme Court, Second Circuit, and all the other district courts in this nation

are wrong.

       The lynchpin to PDVSA’s faulty argument is that TRIA cannot overcome the immunity of



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an agency or instrumentality of a foreign state unless the foreign state is a terrorist state against

whom the plaintiff has a judgment for an act of terrorism. [D.E. 85-1 at pp. 23-24]. Put another

way, PDVSA argues that an agency or instrumentality of a (non-terrorist) foreign state retains its

FSIA immunity even if such agency or instrumentality is committing horrible crimes on behalf of

a non-state terrorist. PDVSA fails to cite one case that supports its argument because its pure

fantasy. Moreover, PDVSA’s proposition: (i) ignores TRIA’s plain language that overrides all

laws to the contrary (“notwithstanding any other provision of law”) and does so “in every case”;

and (ii) asks this Court to be the first to narrow the scope of TRIA.

       PDVSA cannot dispute that TRIA defines a “terrorist party” to include both state and non-

state actors. See TRIA § 201(d)(4). PDVSA cannot dispute that “notwithstanding any other

provision of law,” Section 201(a) of TRIA is applicable in “every case” in which a plaintiff has a

judgment based on a qualifying act of terrorism against a non-state terrorist or a foreign state, and

that the plaintiff may collect from the blocked assets of an agency or instrumentality of “that

terrorist party.” In this case “that terrorist party” is the FARC, and PDVSA is its agency or

instrumentality. TRIA simply does not limit the terrorist victim the way the PDVSA posits.

       If PDVSA doesn’t like the language of TRIA it should ask Congress and the President to

change it. Instead, he asks this Court to narrow its applicability when, as noted above, from the

highest court in this nation on down, have found TRIA’s language to unequivocally take

precedence over any FSIA provision.         For example, when discussing the narrower remedy

provided by 28 U.S.C. Section 1610(g), the U.S. Supreme Court compared such narrower

provision to TRIA’s precedence over all other law, reasoning as follows:

       Section 1610(g) does not take precedence over “any other provision of law” as the
       TRIA does. See TRIA §201(a). Hence, the FSIA’s central-bank immunity
       provision, 194 L. Ed. 2d at 474, limits §1610(g), but not the TRIA.
       Bank Markazi v. Peterson, 136 S. Ct. 1310, 1318 n.2 (2016) (emphasis

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       added).

       The Supreme Court noted TRIA’s “precedence over any other provision of law” in a

second case. Rubin, 138 S. Ct. 826. The Second Circuit and numerous other courts have found

the same. See e.g., Weinstein v. Islamic Republic of Iran, 609 F.3d 43, 49 (2d Cir. 2010); Smith v.

FRB, 280 F. Supp. 2d 314, 319 (S.D.N.Y. 2003). In short, there is simply no precedent that even

remotely supports the PDVSA Parties’ argument that PDVSA is immune from TRIA because

Venezuela has not been designated a terrorist nation.

       As to the Subsidiaries, who are unquestionably not ever protected by the FSIA, the PDVSA

Parties try to concoct a federal subject matter jurisdiction argument by alleging that Caballero

failed to allege facts sufficient to create an Article III claim or controversy against the Subsidiaries

[D.E. 85-1 at p. 26]. Caballero did not make mere conclusory allegations. Pursuant to TRIA,

Caballero made the allegations of agency or instrumentality and provided proof sufficient of the

Subsidiaries status as agencies or instrumentalities for this Court to issue the writs. The Article III

argument is preposterous.

       B. The Court Did Not Need Personal Jurisdiction over the PDVSA Parties

       The PDVSA Parties argue that Caballero has failed establish that this Court had the

“minimum contacts” necessary to enter the PDVSA A&I Order, the Turnover Judgment, and the

Subsidiaries A&I Order. Again, the PDVSA Parties are wrong, and it is the PDVSA Parties that

have not met their burden under Rule 60(b).

       Finding that terrorism victims were holding mere “paper judgments,” it is well established

that Congress passed TRIA as a terrorist victim maximation statute. See, e.g.. Weinstein, 609 F.3d

at 50. TRIA is a collections statute, not a liability statute like the ATA. Thus, TRIA provides a

post-judgment in rem remedy against a very narrow class of assets – the “blocked assets” (as



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defined in TRIA § 201(d)(2)) of the terrorist defendant or its agency or instrumentality. Congress

clearly did not intend to burden terrorism victims with the task of re-starting the litigation at square

1 by obliging them to prove that United States courts have minimum contacts with terrorists hiding

offshore in post-judgment collection proceedings over blocked assets already located in the United

States. Instead, Congress provided a simple and straightforward in rem remedy (in the nature of a

civil forfeiture) against already identified and blocked assets that terrorists had voluntarily placed

in the United States. Thus, the plain language and intent of TRIA establish that it does not create

an in personam remedy that would require a personal jurisdiction showing.

       Moreover, in Weinstein, the Second Circuit confirmed that courts have subject matter

jurisdiction over TRIA collection proceedings even if the agency or instrumentality was not named

in the underlying judgment. Weinstein, 609 F.3d at 50. This is a clear statement of in rem

jurisdiction against property and not against a person or entity as such person or entity was not

named in the judgment. See also Hausler v. JP Morgan Chase Bank, 740 F. Supp. 2d 525, 539

(S.D.N.Y. 2010) (noting in rem jurisdiction over blocked assets within the District).

       C. PDVSA Received Actual Notice of these Proceedings Before the Entry of the
          Turnover Judgment.

       As this Court has already found, the Court appropriately proceeded ex parte with regard to

the issuance of the writs relating to the property of PDVSA and its Subsidiaries. [D.E. 15 at n.2,

n.3; D.E. 33, n.1; D.E. 35 at n.2]. Thereafter, the PDVSA Parties received appropriate and actual

notice after the service of the writs upon the garnishees. Their appearances establish that each

received actual notice. Indeed, PDVSA received actual notice of these proceedings prior to the

issuance of this Court’s Turnover Judgment. Faced with both Court approved service and actual

notice, the PDVSA Parties attempt to shoehorn inapplicable law into the equation.

       “The Supreme Court has made clear that ‘it is now well established that ‘due process’

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unlike some legal rules, is not a technical conception with a fixed content unrelated in time, place,

and circumstance.” Nat’l Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 205 (D.C.

Cir. 2001). Based on such principles, courts have not held terrorism victims to strict compliance

with state garnishment procedures but have instead reviewed whether fair notice had been provided

to the claimant. See, e.g., Stansell, 771 F.3d at 735, 741-42, 46 (rejecting every claimants’ due

process claim because each received actual notice and appeared in the case); Stansell v. Bello, 802

F. App’x 445, 449 (11th Cir. 2020) (“Whether or not each and every technical procedural

requirement of Florida law was complied with is not the litmus test for a due process violation.

Here, as established above, Lopez Bello received actual notice . . ., and he had the opportunity to

contest its findings. Therefore, he was not denied due process under the United States

Constitution.”); In re 650 Fifth Ave. & Related Props., Case No. 08 cv 10934, 2014 U.S. Dist.

LEXIS at n.12 (S.D.N.Y. Mar. 28, 2014). Due process has therefore been satisfied with regard to

the PDVSA Parties. PDVSA was properly served19 and received actual notice prior to the entry

of the Turnover Judgment and the Subsidiaries were properly served after the writ of execution

was served upon the garnishee and have also received actual notice.

       Returning to their kitchen sink, the PDVSA Parties cite to a host of inapplicable rules and

laws. They argue that Caballero was bound to follow the service provisions in Rule 4 of the

Federal Rules of Civil Procedure, FSIA, the Hague Service Convention, and Inter-American

Service Convention. The PDVSA Parties are wrong yet again.

       Rule 4 of the Federal Rules of Civil Procedure is applicable to pre-judgment proceedings.

Rule 69 of the Federal Rules of Civil Procedure is applicable to post-judgment proceedings. Rule



19
  In its Turnover Judgment acknowledged that Caballero had provided notice to PDVSA in two
ways: (i) service upon PDVSA; and (ii) levying on PDVSA’s property [D.E. 35 at n.2].


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69, in turn, refers to the law of the state in which the Court sits to the extent such law is not

inconsistent with federal law. This Court already reviewed Caballero’s service upon PDVSA and

found it appropriate before entering the Turnover Judgment. See D.E. 35 at p. 3 (“This Court also

is satisfied that Caballero, through a specially appointed process server, has complied with CPLR

§ 5232 and has provided adequate notice of the writ of execution to PDVSA and the defendants.”).

In sum, using a Court approved special process server, Caballero served the PDVSA Parties by

mail using the addresses provided by OFAC.

       With regard to New York Procedure, PDVSA complains that CPLR § 5232 required

Caballero to initiate a special turnover proceeding against garnishee M&T Bank pursuant to §

5225(b). Incorrect. Section 5225(b) allows a judgment creditor to commence a special proceeding

against a third party who “is in possession or custody of money or other personal property” in

which the judgment debtor has an interest. However, the Second Circuit has held that “[a] party

seeking a money judgment against a non-party garnishee may proceed by motion and need not

commence a special proceeding, as long as the court has personal jurisdiction over the

garnishee.” CSX Transp., Inc. v Island Rail Terminal, Inc., 879 F.3d 462, 469 (2d Cir. 2018). The

Court has personal jurisdiction over M&T Bank. Moreover, notice was provided to PDVSA by

both M&T Bank and Caballero, eliminating any prejudice argument.

       PDVSA’s reliance on the service provisions in the FSIA, the Hague Convention on Service,

and the Inter-American Service Convention are similarly misplaced as none apply to post-

judgment in rem proceedings. PDVSA’s FSIA arguments fail for several reasons. One, as argued

above, FSIA is simply not applicable. Two, if FSIA were applicable, its service provisions in

Section 1608 relate solely to the service of complaints and summons and are inapplicable to post

judgment proceedings. Peterson v. Islamic Republic of Iran, 627 F.3d 1117, 1130 (9th Cir. 2010)



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(“If Congress had intended for foreign states to receive notice of every post-judgment motion, it

would have said so”) (emphasis added). The Hague Convention on Service is equally inapplicable.

The United States Supreme Court has interpreted the Hague Service Convention’s use of the term

“service of process” narrowly to mean a “formal delivery of documents that is legally sufficient

to charge the defendant with notice of a pending action.” See Volkswagenwerk Aktiengesellschaft

v. Schlunk, 486 U.S. 694, 700 (1988) (emphasis added). Such formal notice to a defendant occurs

upon the commencement of a pre-judgment action because proper service of process often forms

the foundation for establishing personal jurisdiction over a foreign defendant, not in rem

proceedings. See, e.g., Hyundai Merch. Marine Co. v. Grand China Shipping (H.K.) Co., 878 F.

Supp. 2d 1252, 1256-58 (S.D. Ala. 2012) (holding that compliance with Hague Service

Convention would be necessary to obtain personal jurisdiction over foreign company, but

compliance with Hague Service Convention not necessary in giving “notice of maritime

attachment and garnishment” to a foreign company of the attachment of an asset within the U.S.).

Finally, compliance with the Inter-American Convention on Service and its Additional Protocol is

not mandatory even in pre-judgment proceedings because it is not the exclusive method by which

pre-judgment service may be accomplished. See, e.g., In re Montero, Case No. 17-cv-1105, 2019

U.S. Dist. LEXIS 4948 at *13-17 (E.D.N.Y. Jan. 9, 2019). So even if it were applicable (and it is

not), it would have no import here. Indeed, none of the cases cited by the PDVSA parties on pages

29-32 of D.E. 85-1 address service in post-judgment in rem proceedings.

       D. TRIA’S Applicability is Beyond Arguable

       The PDVSA Parties continue their journey to the bottom of the sink by arguing that TRIA

is not applicable. To argue against TRIA’s application, the PDVSA Parties invite this Court to

make plain legal error.    Their bold arguments include: (i) “TRIA applies to “agencies or



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instrumentalities” of state sponsors of terrorism only” [D.E. 85-1 at p. 33]; (ii) “there is no such

thing as an “agency or instrumentality” of a non-state terrorist organization [D.E. 85-1 at pp. 36-

37]; (iii) this Court should not follow the Second Circuit’s decision in Kirschenbaum because it

was “wrongly decided” and called into question when the Supreme Court overruled its

interpretation of § 1610(g) [D.E. 85-1 at 39]; (iv) “Plaintiff failed to prove that PDVSA and its

Subsidiaries are ‘agencies or instrumentalities of the FARC; [D.E. 85-1 at 39-40]; and (v) Plaintiff

has not established that PDVSA and the Subsidiaries own the blocked assets. [D.E. 85-1 at pp. 45-

47]. Each of the PDVSA Parties’ arguments fail miserably.

               1. The PDVSA’ Parties Legal Arguments Fail

       From the approximately hundreds of cases that cite TRIA, the PDVSA Parties cannot cite

any case actually ruling that “TRIA applies to ‘agencies or instrumentalities’ of state sponsors of

terrorism only” and “there is no such thing as an ‘agency or instrumentality’” of a non-state

terrorist organization. Has every district court in the United States that has presided over collection

efforts from agencies or instrumentalities of non-state agencies or instrumentalities misinterpreted

the plain language of TRIA? Have the Second Circuit, Eleventh Circuit, this Court, and others

erred by rejecting the FSIA’s definition of “agency or instrumentality” for non-state actors – which

of course establishes that TRIA applies to non-state agencies or instrumentalities? Of course not.

Yet, that is what the PDVSA Parties posit to this Court.

       Because it has no precedent to cite, the PDVSA Parties immediately delve into their view

of TRIA’s legislative history. At the outset, its bears noting that courts do not review legislative

history when a statute is clear, and the Second Circuit has found TRIA to be unambiguous.

Weinstein, 609 F.3d at 50 (“But even if, contrary to fact, there were an ambiguity here, it would

be resolved in plaintiff's favor by the legislative history.”); Kirschenbaum, 830 F.3d at 133 (“Thus,



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the text of the TRIA unambiguously reaches more broadly to permit the attachment of property in

circumstances not covered by the FSIA or FSIA immunity.”).

       Moreover, even if one were to consider the legislative history, it is clear that Congress

intended TRIA to be a terrorist victim collection maximization statute – not a statute providing

half a remedy that merely limits circumstances that miraculously overlook (or even somehow

spare) non-state terrorist agencies and instrumentalities. Senator Harkin’s remarks, quoted on page

12 supra, establish that Congress was dealing “comprehensively” “on behalf of victims of

terrorism” to satisfy their judgments from the “blocked assets of terrorist parties.” H.R. Conf. Rep.

107-779 at p. 27. Nary a word supporting the PDVSA Parties’ theory in his statements. The

PDVSA Parties have written true fiction for this Court.

       Returning from the fictional world to the actual language of TRIA, it is apparent that

TRIA’s plain language does not provide, as the PDVSA Parties posit, that the reference to

“agencies or instrumentalities” is a reference “only” to agencies or instrumentalities of state actors.

To accept the PDVSA Parties’ argument, the Court would improperly render entire sections of

TRIA superfluous, including the definition of “terrorist party” which expressly includes both state

and non-state actors. The Second Circuit in Weinstein disposed of any argument that TRIA should

be narrowly construed. Weinstein, 609 F.3d at 49 (rejecting narrow construction of the agency or

instrumentality language).

        Dispositively, the Second Circuit has expressly rejected the PDVSA Parties’ position

when holding that Section 201(a) plainly permits collection from the blocked assets of “that

terrorist party” without any limitation as to the terrorist party being only one of the two defined

types of terrorist parties. The Second Circuit noted that the “plain language of the TRIA refers

only to ‘the blocked assets of any agency or instrumentality of that terrorist party,’ and does not



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differentiate among the variety of entities that might qualify as a ‘terrorist party.’” See TRIA §§

201(a), 201(d)(4).” Kirschenbaum, 830 F.3d at 134 (emphasis added). The Second Circuit

reasoned:

       Although both the FSIA and the TRIA permit property in the United States held by
       certain ‘agencies or instrumentalities’ to be attached, under the FSIA the entity
       must be an ‘agency or instrumentality of a foreign state,’ 28 U.S.C. § 1603(b)
       (emphasis added), whereas, under the TRIA, the entity must be an ‘agency or
       instrumentality of th[e] terrorist party.’ TRIA § 201(a) (emphasis added). Thus,
       the text of the TRIA unambiguously reaches more broadly to permit the
       attachment of property in circumstances not covered by the FSIA or FSIA
       immunity. See Weinstein, 609 F.3d at 50; see also Rubin v. Islamic Republic of
       Iran, 709 F.3d 49, 54 (1st Cir. 2013). Specifically, unlike the FSIA, the TRIA
       permits attachment and execution against individual ‘terrorist[s]’ and ‘terrorist
       organization[s]’ (and their agencies and instrumentalities). TRIA § 201(d)(4).
       Kirschenbaum, 830 F.3d at 133. (emphasis added)

       As this Court has already noted [D.E. 15 at p. 4], the Second Circuit in Kirschenbaum

expressly rejected applying the traditional FSIA definition of agency or instrumentality to non-

state actors. Kirschenbaum, 830 F.3d at 133 (“Precisely because TRIA § 201 encompasses non-

state actors and, thus, reaches more broadly than the FSIA, it would contravene a plain reading of

the TRIA to cabin its reach by applying the FSIA's definition of agency or instrumentality—which

requires a foreign state principal.”). The Eleventh Circuit has reached the same conclusion.

Stansell, 771 F.3d 731 (“applying the FSIA's definition of agencies or instrumentalities to TRIA

would leave only terrorist states as potential sponsors of agencies or instrumentalities under TRIA

§ 201, eviscerating TRIA's effectiveness vis-à-vis non-state terrorist organizations. This cannot

stand, as TRIA's definition clearly contemplates non-state judgment debtors being subjected to

TRIA execution. See TRIA § 201(d)(4) (defining ‘terrorist party’ to include both state actors and

non-state terrorist organizations).”

       In one paragraph with no analysis, the PDVSA Parties invite this Court to reject the Second

Circuit’s opinion in Kirschenbaum. [D.E. 85-1 at p. 39]. The PDVSA Parties claim that

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Kirschenbaum was “wrongly decided” and that the Supreme Court’s decision in Rubin called “the

remainder of the decision into question.” The Supreme Court did no such thing. It addressed an

entirely separate issue – whether Section 1610(g) created a freestanding exception to immunity or

depended on immunity being found somewhere else within Section 1610). Rubin, 138 S. Ct. at

827.20

                2. The PDVSA’ Parties Factual Arguments Fail

         Even though it was invited by the Court in (i) its December 18, 2020 Decision & Order

(“PDVSA is nonetheless entitled to notice and an opportunity to be heard to rebut the allegations

that it is an agency or instrumentality of FARC”) [D.E. 15 at 5]; (ii) its May 11, 2021 Decision &

Order (“. . . “PDVSA and the subsidiaries shall brief the factual and legal issues, including whether

PDVSA and the subsidiaries are agencies or instrumentalities of FARC . . . .”) [D.E. 78 at p. 18];

and its June 10, 2021 Text Order (“. . . .PDVSA and the subsidiaries shall brief the legal and factual

issues by 6/25/2021 . . . .”), in complete disregard of the Court’s admonition during the hearing of

April 28, 2021, the PDVSA Parties have filed no evidence.              Instead, they challenge the

admissibility (alleging hearsay and double hearsay) and the sufficiency of Caballero’s

submissions, ignoring that this Court has already found the evidence, admissible, credible, and

sufficient. The Court should not entertain any invitation to re-weigh the evidence when, based on

the express language in the Court’s Orders, the burden shifted to the PDVSA Parties to put forth




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  Indeed, following the Rubin decision, Courts (including this Court and the Second Circuit) have
continued to cite to Kirschenbaum’s agency or instrumentality analysis and noted that the opinion
was “abrogated on other grounds” or “abrogated in part” [D.E. 15 at p. 4]; Kirschenbam v. 650
Fifth Ave & Related Props., 934 F.3d 191, 194 (2d Cir. 2019); Havlish v. 650 Fifth Ave. Co., 934
F.3d 174, n.1 (2d Cir. 2019); Levin v. Bank of N.Y. Mellon, Case No. 09-cv-5900, 2019 U.S. Dist.
LEXIS 22788 at *90-91 (S.D.N.Y. Feb 12, 2019) (applying, as this Court did, the agency or
instrumentality factors set forth in Kirschenbaum).
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evidence.21 Put another way, this case is way past whether Caballero has proven the agency or

instrumentality status of the PDVSA Parties.

       By ignoring this Court’s instructions, PDVSA has also failed to meet its burden under Rule

60(b) of establishing that this Court should reverse its determination that PDVSA is an agency or

instrumentality of the FARC, and the Subsidiaries have failed to submit the evidence that the Court

has invited them to submit on their agency and instrumentality status. Instead, they again retreat

to a faulty legal premise.

       The PDVSA Parties argue that Caballero failed to establish their status as agencies or

instrumentalities on or around the date he filed this collections proceeding.22 Ignoring the evidence

showing that at all times material to this case (in other words from the filing of Caballero’s original

ATS lawsuit to the present), the PDVSA Parties have been agencies or instrumentalities of the

FARC, the PDVSA Parties cherry pick older examples (omitting all recent and concurrent

examples, such as those found in the Declaration of Mr. Reich [66-1] and the March 3, 2021




21
   The other courts that have found the PDVSA Parties to be agencies or instrumentalities of the
FARC have relied on the same or similar declarations submitted by Caballero or other plaintiffs
pursuing satisfaction of their judgments. See Decl. of Leon N. Patricios at ¶ 8. Moreover, experts
are permitted to rely upon hearsay, double hearsay, or inadmissible evidence. See, e.g., in Rondout
Valley Cent. Sch. Dist. v. Coneco Corp., 321 F. Supp. 2d 469, 479 (N.D.N.Y. 2004).
22
   Although unimportant given Chavez’s, Maduro’s, and PDVSA’s continuous support of the
FARC, it is not entirely clear, as the PDVSA Parties argue, that the agency or instrumentality
determination must be measured on any static date -- the date a party commences the action seeking
a writ is one such date as argued by the PDVSA Parties. D.E. 85-1 at 39 (citing Harrison v.
Republic of Sudan, No 13-cv-3127, 2017 U.S. Dist. LEXIS 25675 (S.D.N.Y. Feb. 10, 2017). In
Calderon-Cardona v. Bank of N.Y Mellon, 770 F.3d 993, 999-1000 (2d Cir. 2014), the Second
Circuit set the date of the underlying final judgment as the date to measure whether a defendant
was a terrorist party -- a different date than the one proposed by the PDVSA Parties. Because
TRIA is a victim recovery maximization statute, it does not follow that upon entry of the final
judgment against a terrorist party, the agency or instrumentality determination must be made as of
fixed date. For example, pursuant to the “Look Back Rule” [D.E. 86 at n.2], the same is not true
in collection proceedings because the de-listing of an SDN after a writ has been served does not
affect the collection proceedings.
                                                  36
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Declaration of Mr. McBrien, Ex. 5. in Caballero’s evidence from the PDVSA Parties’ decades of

support for the FARC.

       To be certain, the record before this Court is clear. PDVSA and its Subsidiaries are, and

at all times material hereto have been, agencies or instrumentalities of the FARC. As recited

above, Caballero has presented the declarations of Mr. McBrien and Mr. Reich explaining that, at

all times material hereto: (i) Maduro has been a close partner of the FARC’s narco-terrorism

operations; and (ii) Maduro has used the apparatus of Venezuela, including PDVSA and the

Subsidiaries, supporting FARC’s narco-terrorism activities. Thus, because the PDVSA Parties

have supported the FARC, in the numerous ways outlined by Mr. McBrien and Mr. Reich, the

PDVSA Parties are and have been agencies or instrumentalities of the FARC.

       Mr. McBrien’s and Mr. Reich’s conclusions are shared by the United States government.

Its indictment of Maduro references the FARC more than 50 times and could not have been clearer.

From at least 1990 through 2020 when the Maduro Indictment was filed,23 Maduro (and before

him Chavez) has been a partner of the FARC’s narco-terrorism activities. Glaringly omitted by

the PDVSA Parties is that this proceeding was filed concurrent to the pending proceedings against

Maduro (see Ex. 2) which pending proceedings not only describe Maduro’s activities with, on, or

behalf, of FARC international cocaine trafficking, but also parallel the evidence submitted by

Caballero herein. While the Maduro Indictment does not attempt to recite every occasion wherein

Maduro or Chavez used a Venezuelan institution as part of the narco-terrorism conspiracy, the

Maduro Indictment, in paragraphs 15(a) through (s) provides examples of such use, including the

agreement, reached as far back as 2008, to “use funds from the Venezuelan state-owned oil




23
  There is no indication anywhere that every allegation made in the Maduro Indictment has not
remained true since its filing in March 2020 through the date of this filing in July 2021.
                                               37
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producer, Petroleos de Venezuela (PDVSA), to support the FARC’s drug-trafficking and terrorist

operations.” Id. at p. 11.

       Both Mr. McBrien and Mr. Reich have explained that Maduro has continued to use and

control the apparatus of the country of Venezuela for illicit purposes. Indeed, instead of denying

it, the Ad Hoc Board has confirmed that through this day, that Maduro controls PDVSA. In

paragraph 8 of her declaration, Ms. DeLelle confirms that Maduro remains in control of PDVSA,

noting: “Maduro’s unwillingness to relinquish power has prevented the Interim Government from

restoring democracy and normal operations at Venezuela’s state-owned companies, such as

PDVSA. See Ex. 7 (discussing, among other items, “Maduro’s history of exploiting the assets of

PDVSA for personal gain”). D.E 58-3 at p. 4.

       With regard to the Subsidiaries, the PDVSA Parties accuse Caballero of conflating

blocking determinations and agency instrumentality determinations. D.E. 85-1 at 43-45. Nonsense.

Caballero does not dispute that each determination requires a separate inquiry, nor does he (nor

this Court) inappropriately rely on the Subsidiaries’ blocked status to reach the conclusion that the

Subsidiaries are agents and instrumentality of the FARC. According to their attorney’s own

declaration, the subsidiaries are “wholly-owned subsidiaries of PDVSA.”24 D.E. 58-2, at 1. It is

PDVSA’s ownership of the Subsidiaries and evidence that PDVSA has used certain of its

subsidiaries to further its money laundering operations in the past that serves as the agency and

instrumentality linchpin.




24
  Notably, even were one to reject the above rationale and conclude that the Subsidiaries are not
agencies and instrumentalities of the FARC (which they are), Caballero would still be able to
execute against the subject blocked assets because PDVSA is an agency and instrumentality of the
FARC and because PDVSA effectively owns the blocked assets in the putative names of the
Subsidiaries by virtue of its full ownership of such Subsidiaries.
                                                 38
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       Contrary to the PDVSA Parties’ arguments [D.E. 85-1 at 43-45], the agency and

instrumentality determination relating to PDVSA’s wholly-owned Subsidiaries is well-founded.

Per OFAC’s Revised Guidance, “any entity owned in the aggregate, directly or indirectly, 50

percent or more by one or more blocked persons is itself considered to be a blocked person.”

(hereafter, the “50% Rule”).25 And, in Stansell v. Revolutionary Armed Forces of Colombia

(FARC), No. 09-cv-2308-RAL-MAP, 2013 U.S. Dist. LEXIS 189867, at *14 (M.D. Fla. Feb. 17,

2015), the court held that Hezbollah, “including its individual members, divisions, front companies

and networks, predecessor, subordinates, derivatives, and/or successor organizations are all

agencies or instrumentalities of the FARC.” Relying on the 50% Rule and the logic of Stansell,

this Court appropriately held that “[i]f PDVSA is an agency and instrumentality of the FARC—

which this Court has already determined it is, see Docket Item 15—it follows that its majority-

owned subsidiaries are as well.” D.E. 33 at 5 (emphasis added).

               3. M&T Bank is Holding Assets in the name of, or for the benefit of PDVSA

       The PDVSA Parties complain that Caballero did not prove that PDVSA owns the Blocked

Assets held by M&T Bank or that the Subsidiaries own the assets held by Citibank. Once again,

the PDVSA Parties have failed to file any evidence to rebut Caballero’s submissions and this

Court’s findings or even to provide a sworn statement denying PDVSA’s ownership of the blocked

funds held at M&T Bank.

       Because it has no contrary evidence (and such evidence does not exist), the PDVSA Parties

resort to their parlor tricks and attempts to mislead this Court with regard to the law. In doing so,

the PDVSA Parties ask this Court to commit plain legal error. The PDVSA Parties argue that the



25
   U.S. TREASURY DEP’T, Revised Guidance on Entities Owned by Persons Whose Property and
Interests    in    Property     are     Blocked     (Aug.     13, 2014), available    at:
https://home.treasury.gov/system/files/126/licensing_guidance.pdf
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broad language of TRIA must be narrowed to allow a victim of terrorism to collect blocked assets

only from assets blocked under the same OFAC sanctions program. [D.E. 85-1 at pp. 46-47]. The

PDVSA Parties cite dicta from Hausler v. JPMorgan Chase Bank, N.A., 845 F. Supp. 2d 553, 567

(S.D.N.Y. 2012) and then misrepresent to the Court that Hausler was reversed on other grounds.

The PDVSA Parties are wrong.

       Hausler was one of several cases26 considering whether certain electronic funds transfers

(“EFTs”) that had been blocked midstream were the blocked assets of a terrorist party attachable

under TRIA. The conflicting decisions reached by the district courts were eventually resolved by

the Second Circuit’s opinion in Calderon-Cardona v. JPMorgan Chase Bank, N.A., 770 F.3d 993

(2d Cir. 2014). The very premise of the language cited by PDVSA in Hausler—that TRIA

preempts state law definitions of property ownership—was specifically reversed by the Second

Circuit. Put another way, the very premise upon which the words “of that terrorist party”,

Hausler, 845 F. Supp. 2d at 576, would be interpreted to mean that a TRIA judgment creditor

could only collect against an agency and instrumentality that happens to be designated under the

same sanctions regulation as the terrorist party itself, rests on the erroneous assumption that federal

law is determinative of both: i) the blocked status of an asset; and, ii) defining which parties are

deemed to have an ownership interest in that blocked asset. Nonsense. That erroneous premise and

assumption were specifically reversed by the Second Circuit: “When Congress leaves a gap in a

statute that ‘has not created any new property rights, but merely ‘attaches consequences, federally

defined, to rights created under state law,’ we must look to state law to define the ‘rights the

judgment debtor has in the property the [creditor] seeks to reach.” 770 F.3d at 1001.




26
  The others were Levin v. Bank of New York, Case No. 09 CV 5900 (S.D.N.Y.) and Calderon-
Cardona v. JPMorgan Chase Bank N.A., Case No. 11 CV 3283 -3292 (S.D.N.Y.)
                                                  40
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       Thus, in upholding the New York state law principles regarding EFT ownership in

Calderon-Cardona, the Second Circuit squarely rebuffed using the words the “particular

regulation or administrative action” to determine ownership. Hausler, 845 F. Supp. 2d at 567. Put

another way, the very premise of the PDVSA Parties’ argument (that TRIA preempts state law

definition of property ownership) is squarely dead. The phrase “of that terrorist party” is not to be

construed to use federal regulations or administrative action to deem only agencies and

instrumentalities designated under the same sanctions regulation as the terrorist party itself to be

target “owners” for collection purposes.27 Further, such an odd interpretation would again render

TRIA something other than a statute meant to “…deal comprehensively with the problem of

enforcement of judgments rendered on behalf of victims of terrorism…”

       E. Caballero’s ATA Final Judgment is Correct, Final, and Not Assailable

       Without establishing that they have any standing to do so, the PDVSA Parties attack Chief

Judge Moore’s ATA Final Judgment arguing for the FARC that Chief Judge Moore erred

because: (i) the Southern District of Florida did not have personal jurisdiction of the FARC; (ii)

Caballero lacked standing to sue the FARC or failed to state a cause of action under the ATA

against the FARC because he was not a United States citizen when his father was murdered in




27
   Indeed, the absurdity of PDVSA’s argument is belied by precedent in the Caballero litigation
requiring turnover of assets in the putative name of an agencies and instrumentalities designated
under sanctions regulations distinct from the ones used to designate Judgment Debtor FARC. See
e.g. Judgment in Garnishment, Caballero v. FARC, et al., No. 20-12-15428 (Tex.—Montgomery
County [284th Dist.] Jan. 15, 2021), removed to S.D. Tex. under Case No. 4-21-cv-00913
(consolidated under S.D. Tex. Case No. 4:21-cv-1668) (requiring turnover of funds in the putative
name FARC agent and instrumentality PdVSA—designated under the Venezuelan sanctions
program—to partially satisfy Caballero’s judgment against the FARC—designated under the
Foreign Terrorist Organizations Sanctions Regulations (FTO), Specially Designated Global
Terrorist Sanctions Regulations (SDGT), and Foreign Narcotics Kingpin Sanctions Regulation
(SDNTK) programs).


                                                 41
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Colombia; and (iii) Caballero’s prior Florida state court action judgment was void, prohibiting

Chief Judge Moore from using the damages calculations and findings from such court.

       The Supreme Court has long recognized that collateral attacks are disfavored. See, e.g.

Chicot City Drainage Dist. v. Baxter State Bank, 308 U.S. 371, 378 (1940); United Student Aid

Funds, Inc. Espinosa, 559 U.S. 260, 271 (2010) (“[A] judgment is void because of a jurisdictional

defect [only in the] exceptional case in which the court that rendered the judgment lacked even an

‘arguable basis’ for jurisdiction.”). Courts disfavor collateral attacks because they disturb a

judgment’s “finality.” See, e.g., Nemaizer v. Baker, 793 F.2d 58, 64-66 (2d Cir. 1986); Hoffman v.

Pulido, 928 F.3d 1147, 1151 (9th Cir. 2019). The PDVSA Parties have no standing to make any

of the above arguments as they are personal to the FARC and cannot, as a matter of law, be

challenged through a collateral attack by a third party. Even if the PDVSA Parties had standing

to raise the issues, the doctrine of finality would bar them from re-raising the issues collaterally.

Moreover, PDVSA is just plain wrong as to each issue that it raises.

       The PDVSA Parties’ first argument is that the Southern District of Florida did not have

personal jurisdiction over the FARC. A lack of personal jurisdiction defense is an individual right

that can be waived by an individual. Ins. Corp. of Ireland v. Compagnie des Bauxites, 456 U.S.

694, 703 (1982) Just as a third party cannot waive the defense for an individual, a third party

cannot raise it for an individual in a collateral attack. The PDVSA Parties fail to cite one case to

this Court where a third party collaterally attacked a final judgment on the basis that the original

court lacked personal jurisdiction over the defendant. The two cases cited by the PDVSA Parties

do not stand for that proposition28 because the opposite is true. See, e.g., Sayles v. PAC Eng’rs &




28
  Covington Indus., Inc. v. Resintex A.G., 629 F.2d 730, 732 (2d Cir. 1980) involved a defaulted
defendant in a Georgia action raising its own personal defense of lack of personal jurisdiction
                                                 42
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Constructors, Ltd., Case No. 08-cv-676S, 2009 U.S. Dist. LEXIS 124819 at *15 - *18 (W.D.N.Y.

Jan. 16, 2009) (noting that “the appearing defendants lack standing to raise this objection to

exercising personal jurisdiction over codefendants . . . .”); Jenkins v. Smead Mfg. Co., Case No.

09-cv-0261, 2009 U.S. Dist. LEXIS 101545 at *8-9 (S.D. Ca. Oct. 28, 2009) (holding that

defendants lack standing to raise a lack of personal jurisdiction defense for proposed defendants).

        Whether Caballero had standing to or stated a claim under the ATA and whether his

damages were properly determined through reliance on the Florida State court findings are rulings

that are not subject to collateral attack. Without citation to any legal authority, PDVSA boldly asks

this Court to sit as an appellate court over Chief Judge Moore when the time for appeal has long

since passed. PDVSA has no standing (or legal support cited) to challenge Chief Judge Moore’s

interpretation of the ATA, his decision on damages, his reliance upon the Florida state court

judgment, or any other act. See, e.g., Rouse v. Conner, Case No. 12-2121, 2012 U.S. Dist. LEXIS

86446 at *5 (N.D. Ca. June 21, 2012) (noting that non-jurisdictional errors “such as failure to state

a cause of action, insufficiency of evidence, abuse of discretion, and mistake of law – are ‘not

appropriate procedural targets’ for collateral attack . . . .”).29

        The PDVSA Parties are simply wrong. Before the Florida state court, Caballero fully

briefed the issue of personal jurisdiction over the Defendants and, at the trial court’s request, fully

briefed whether Kiobel v. Royal Dutch Petrol Co., 569 U.S. 108 (2012), had any impact on the

trial court’s jurisdiction. The Florida state court fully analyzed these issues in its Partial Summary

Judgment Order making specific findings as to personal jurisdiction and the contacts of Defendants



before the court enforcing the judgment. Jerez v. Republic of Cuba, 775 F.3d 419, 422 (D.C. Cir.
2014) involved the subject matter jurisdiction of the rendering court under the FSIA.
29
   Even if another court were to later disagree with Chief Judge Moore, such ruling does not support
a collateral attack. See, e.g., Chicot Cty. Drainage Dist., 308 U.S. at 376; Jones v. Giles, 741 F.2d
245, 248 (9th Cir. 1984). Any such argument needed to have been made on direct appeal.
                                                    43
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with the State of Florida sufficient to satisfy Kiobel. See Ex. 4 Memorandum Opinion and Order

on Plaintiff’s Motion and Incorporated Memorandum of Law for Partial Summary Judgment as to

Liability on All Counts (the “Partial Summary Judgment Order”) at pp. 21-23 (personal

jurisdiction) and 33-34 (Kiobel). The Florida state court then incorporated the Partial Summary

Judgment Order into its ATS Final Judgment. See ATA Action at D.E. 1-1 at p.2.

        Thereafter, during collection proceedings on his ATS Final Judgment, a third party agency

or instrumentality challenged subject matter jurisdiction, the trial court’s application of Kiobel,

and other issues. The trial court rejected the arguments, and the arguments were briefed again30

to Florida’s Third District Court of Appeal, which held an oral argument and then issued a per

curiam affirmance. Thus, even if the PDVSA Parties had standing to raise these arguments (and

they do not), because all these issues were fully and fairly litigated, they are entitled to finality.

        Upon becoming a U.S. Citizen, Caballero filed his ATA action in federal court, attached

his Florida Final Judgment, and followed the same procedures for serving the FARC. See ATA

Action, at D.E. 1, 15, 25. With regard to personal jurisdiction over FARC, Caballero’s ATA

Complaint made specific allegations about the FARC’s criminal activities and drug trafficking

operations transporting illicit drugs into Florida. ATA Action, D.E. 1 at pp. 2-5. While the case

was pending, a competitor case (the “Stansell Plaintiffs”) filed a motion to intervene and argued

to Chief Judge Moore the very same arguments that PDVSA makes to this Court regarding

remedies under the ATA being limited temporally by when a plaintiff became a U.S. citizen. ATA

Action at D.E. 8; 8-1; 11; 13. Chief Judge Moore denied the motion to intervene [ATA Action,



30
   The state court appellate briefs were already field with a federal court and are available on
PACER. As such, Caballero provides the citations to the appellate briefs’ appearance in a federal
record. Appellant’s Initial Brief, filed in Caballero v. FARC et al., Case No. 4:19-cv-04011-KES
(D. S.D.), D.E. 15-2, Answer Brief at D.E. 15-3 and Reply Brief at D.E, 15-4, the appellate court’s
affirmance, D.E. 15-8.
                                                  44
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D.E. 43] and squarely addressed and rejected their arguments (the same arguments PDVSA makes

here that Caballero could not bring an ATA action because he was not a U.S. citizen when living

in Colombia.) See Order on Mot. For Default Final Judgment, ATA Action, D.E. 62. Moreover,

Chief Judge Moore’s Order on Motion for Default Final Judgment was based, in part, on the ATS

Action record which included the Partial Summary Judgment Order and the state court rulings on

personal jurisdiction. ATA Action D.E. 62 at pp. 1-3, 7. Thus, PDVSA’s presumption that Chief

Judge Moore did not consider the issue of personal jurisdiction over PDVSA is unsupportable.


                                         CONCLUSION

       A criminal enterprise (the FARC) and a criminal (Maduro) use Venezuela’s national

institutions, including PDVSA, to further their narco-terrorism operations. Specifically, PDVSA

has provided material assistance to the FARC, including money laundering. The United States,

thankfully, operates under the rule of law. And, in this case, that law and the relevant facts are

clear: (i) Caballero is a victim of the FARC’s terrorism, who has received a final judgment arising

out of such terrorist acts; (ii) the United States government has blocked the assets of PDVSA; (iii)

PDVSA is, and at all times material hereto, has been an agency or instrumentality of the FARC;

and (iv) TRIA allows Caballero to satisfy his compensatory damages from the blocked assets of

PDVSA.

       It is time for this Court’s Turnover Judgment to be enforced. Caballero respectfully

requests that this Court deny PDVSA’s Motion [D.E. 85] and lift its stay [D.E. 39] with instructions

to M&T Bank to immediately comply with the Turnover Judgment.




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Dated: July 26, 2021.

                                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE
       We hereby certify that the foregoing document was filed this 26th day of July 2021 via

CM/ECF.

                                                  /s/ Leon N. Patricios
                                                  Leon N. Patricios




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